Case 23-01210   Doc 37-1                                  EXHIBIT
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Case 23-01210   Doc 37-1   Filed 07/20/23 Entered 07/20/23 14:56:32   Desc Exhibit
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                                                           Kennedy Harris


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